Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 1 of 13 PageID: 515



                      UNITED STATES DISTRICT COURT         RECEIVED
                     EASTERN DISTRICT OF NEW JERSEY
                                                                  JUN - 1 2022
                                                             AT 8:30----~:-:-::-:-::-:-:--M
                                                                 WILLIAM T. WALSH
                                                                       CLERK
ZIA SHAIKH ,                  )
                              )
      Plaintiff,              ) CASE NO. 3:22-cv-02053-GC-RLS
                              )
            V.                )
                              )
LAURAL. GERMADNIG et al,)
                         ) MOTION FOR ENTRY
                         ) OF ~EFAULT FINAL JUDGMENT
    Defendants           )
                              )
- - - - - - - - - - -- - -


      The undersigned plaintiff, ZIA SHAIKH, move this Court for

entry of a default judgment as to defendants:

   1. Laura L . Germadnig,
   2. Siegfried Germadnig
   3. Patricia Germadnig
   4. Melissa Reeves
   5. Kenneth Reeves
   6. Mark Germadnig
   7. Stacy GERMADNIG
   8. Siegfried GERMADNIG Jr
   9. Barus Germadnig
   10.     Crystal Germadnig
   11.     Skye Germadnig Jr
   12.     David Tarnowski
   13.     Nicole Tarnowski
   14.     Slava Kleyman
   15.     Nancy Cavanaugh
   16.     Louis Elwell
   17.     Janice Elwell
   18.     Christine Gilfillen
   19.     Sandra Seaman
   20.     Jack M.
   21.     Nada Pityinger
   22.     Brett Pityinger
   23.     Daniel Schastny
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 2 of 13 PageID: 516



   24.       Kathleen Schastny
   25.       Bradley Mckee
   26.       Rene Mckee
   27.       Robert Mckee
   28.       Carol Mckee
   29.       Stanley O'Brian
   30.       Lori 0' Brian
   31.       Candy Mckee
   32 .      Cathleen Christie-Coneeny
   33.       Joseph Gunteski
   34.       Cowan Gunteski & Co
   35.       John R. Wiley Jr
   36 .      AICPA (Association of International CPA's)
   37.       Seth Arkush
   38.       Integrated Care Concepts LLC
   39.       Stephanie J. Brown Esq
   40.       August J. Landi Esq
   41.       David Schlendorf Esq


      , upon the complaint heretofore filed and served upon the

defendant,    in accordance with the provisions of Rule 55(b) (2),

Federal Rules of Civil Procedure, and in support thereof shows

the Court the following.

      1.     On April 08, 2022, the Plaintiff filed in the

United States District Court, District of New Jersey, Trenton

Division, a Complaint alleging certain federal law tort claims

act and common law tort claims acts violations by defendants

jointly and severally in violation of 28 U.S.C. §1331 and §1343.
ECF document No.1 and is incorporated herein by reference.

      2.     On April 20 and April 22,2022 respectively, a copy of

said Complaint and Summons in a Civil Action were served b y a

third party process server Rafael Franco upon each of the forty

one defendants listed above, at their residence and or place of

business addresses as identified in the complaint.           A copy of the
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 3 of 13 PageID: 517



Process Receipt and Return and Summons is attached hereto as ECF

documents No.11,12 and 13 and is incorporated herein by

reference.

      3.     On May 12, 2022, after more than twenty days, had

elapsed since the service of said Complaint and Summons upon each

of the listed defendants, and no Answer thereto having been

served by these listed defendants upon the Plaintiff, the

Plaintiff then notified each of the respective defendants, of the

Plaintiff's intention to petition this Court for entry of a

default judgment against each of these defendants.           A sample copy

of said letter sent to each defendant respectively is attached

hereto as Exhibit 1 and is incorporated herein by reference.             No

response to said letter sent to these forty one defendants has

been received by the Plaintiff.

      4.     Defendants have failed to plead or otherwise defend

this action, and the Plaintiff is entitled to judgment by default

against defendant.

      5.     Pursuant to the provisions of Rule 55(b) (2), Federal

Rules of Civil Procedure, this Court is empowered to enter a

default judgment against the defendants for relief sought by

plaintiff in its complaint, and written notice of this action has

been given to defendant as set forth in the attached affidavit.




                                   PRAYER

      WHEREFORE, plaintiff prays that this Court enter a judgment

of default against all listed defendants hereto, and that

defendants be enjoined and restrained from further violations of
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 4 of 13 PageID: 518



28 U.S.C . §1331 and § 1343, as provided in the propo sed Final

Judgment filed contemporaneously with this Motion.




                                 AFFIDAVIT



I, ZIA SHAIKH, do hereby certify that the statements and

allegations set forth in the foregoing Motion and the

accompanying Memorandum are true and accurate to the best of my

knowledge and belief.



                                          Respectfully submitted,




                                          ~
                                          ZIA SHAIKH - Pl a 1!'"=t.,..1
                                                                ,n ,,...t= r


                                          200 Village Ctr Dr Unit 7381
                                          Freehold, NJ 07728
                                          732)766-5466
                                          Zia@MyArpp.com

Dated: May 23,    2022
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 5 of 13 PageID: 519



                                                                 R EC EI VED

                       UNITED STATE S DISTRICT COURT
                                                                       JUN - 1 2022
                                                                  ATB:30_
                      EASTERN DISTRICT OF NEW JERSEY                 WIL7-:Ll7.At:-:-:,i=-r.-:--
                                                                                             W-AL_S_H__ M
                                                                             CLERK




 ZIA SHAIKH ,

      Plaintiff ,               )CASE NO . 3 : 22 - cv-0 2 0 53 - GC - RLS
                                )
        v.
                                )
 LAURAL . GERMADNIG et al ,     )
                                )   AFFIDAVIT FOR
                                )   ENTRY OF DEFAULT
      Defendant .               )
                                )



        ZIA SHAIKH , hereby declares under penalty of perjury ,

 pursuant to 28 U. S . C. § 1746(2) that the following statements

 are true and correct :

        1.    That I am the Plaintiff in the above captioned

 matter .

        2.    I hereby make application to the Clerk of this Court

 for entry of default as to defendants :



 1.     Laura L . Germadnig ,
 2.     Siegfried Germadnig
 3.     Patricia Germadnig
 4.     Melissa Reeves
 5.     Ke n neth Reeves
 6.     Mark Germadnig
 7.     Stacy GERMADNIG
 8.     Siegfried GERMADNIG Jr
 9.     Barus Germadnig

                                    Page 1 of 4
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 6 of 13 PageID: 520




IQ     Crystal Germadnig
11.    Skye Germadnig Jr
 12.   David Tarnowski
13 .   Nicole Tarnowski
14.    Slava Kleyman
15.    Nancy Cavanaugh
16.    Louis Elwell
17.    Janice Elwell
18.    Christine Gilfillen
19.    Sandra Seaman
20.    Jack M.
21.    Nada Pityinger
22.    Brett Pityinger
23.    Daniel Schastny
24.    Kathleen Schastny
25.    Bradley Mckee
26.    Rene Mckee
27.    Robert Mckee
28.    Carol Mckee
29.    Stanley O' Brian
30.    Lori O' Brian
31.    Candy Mckee
32.    Cathleen Christie-Coneeny
33.    Joseph Gunteski
34.    Cowan Gunteski & Co
35.    John R . Wiley Jr
36.    AI CPA (Association of International CPA ' s)
37.    Seth Arkush
38.    Integrated Care Concepts LLC
39.    Stephanie J . Brown Esq
40.    August J . Landi Esq
41.    David Schlendorf Esq


       , pursuant to Rule 55(a) , Federal Rules of Civil

       Procedure , and in support of this application do show

       that :


          A . On April 20 and April 22 , 2022 respectively , a copy of

                said Complaint and Summons in a Civil Action were


                                  Page 2 of 4
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 7 of 13 PageID: 521




            served by a third party process server Rafael Franco

            upon each of the forty one defendants listed above,

            at their residence and or place of business addresses

            as identified in the complaint, with copies of

            Plaintiff's Summons and Complaint as provided by Rule

            4 ( c) ( 1) , Federal Rules of Civil Procedure;



         B. Upon Plaintiff's information and belief , the
            defendants, all being New Jersey residents and or
            being a New Jersey corporation , are neither an infant
            nor an incompetent person requiring special service
            in accordance with Rule 4(g), Federal Rules of Civil
            Procedure, and is not serving with the armed forces
            of the United States entitled to the protection of 50
            U.S.C . App. Section 520;

         C. All of the listed defendants have neither answered
            nor otherwise responded formally to the Plaintiff ' s
            Summons and Complaint , and the time to do so , as
            provided in Rule 12(a) , Federal Rules of Civil
            Procedure, has expired;

         D. Copies of this Affidavit and the Motion and
            Supporting Memorandum of Law, with attachment,
            seeking entry of default judgment, which are being
            filed herewith , have this date been served upon the
            defendant by regular mail, postage prepaid.




                                  Page 3 of 4
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 8 of 13 PageID: 522




                             Respectfully submitted,




                             ~
                              200 Village Ctr Dr Unit 7381
                              Freehold, NJ 07728
                              732)766-5466
                              Zia@MyArpp.com

Date : May 23 , 2 0 22




                                 Page 4 of 4
,.   Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 9 of 13 PageID: 523



                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW JERSEY

                                                                                AT8:30 _ __           M
                                                                                   WILLIAM T. WALSH
                                                                                        CLERK


     ZIA SHAIKH ,

         Plaintiff,                         )CASE NO . 3:22-cv-02053-GC-RLS
                                            )
            V.
                                             )
     LAURAL. GERMADNIG et al,               )
                                            )    CERTIFICATE OF SERVICE
                                            )    MOTION DOCUMENTS
          Defendant.                        )
                                            )




            I, Zia Shaikh, certify as follows that on May 23,2022:

            1.      I served a copy of the attached Notice of Motion for entry of default with

     supporting papers upon Federal district court for the Eastern District of New Jersey, Trenton

     division via USPS mail.

            2.      I served the copy of same on each of the forty one defendants to their below listed
     addresses via USPS regular mail but without the exhibits since defendants already possess same
     as follows:


        1. Defendant Louis Elwell and Janice Elwell at 17 Raintree Ct Holmdel, NJ 07733.
        2. Defendant Sandra Seaman at 315 Elberon Ave Allenhurst, NJ 07711
        3. Defendant Robert I. Mckee and Carol L. Mckee at 99 Steiner Ave Unit 22, Neptune, NJ
            07753
        4. Defendants Laura Germadnig , Siegfried Germadnig, Patricia Germadnig, Mark
            Germadnig, Stacy Germadnig, Siegfried Germadnig Jr, Barus Germadnig, Skyler
            Germadnig, Candy Mckee at 172 Roosevelt Ave Howell, NJ 07731
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 10 of 13 PageID: 524



    5. Defendant David Tarnowski and Nicole Tarnowski at 42 E. 4 th St, Howell, New Jersey
        07731.
    6. Defendant Christine Gilfillen at 19 Rustic Ln Howell, NJ 07731
    7. Defendant Daniel Schastny and Kathleen Schastny at 174 Windeler Rd Howell, NJ 07731
    8. Defendant Bradely Mckee and Rene Mckee at 14 Lexington Rd Howell, NJ 07731
    9. Defendant Melissa Reeves and Kenneth Reeves at 39 Dawn Cypress Lane, Jackson, New
        Jersey 08527,
    10. Defendant Stanley O' Brian and Lori O' Brian at 450 Cook Rd Jackson, NJ 08527
    11. Defendant Seth Arkush, Integrated Care Concepts LLC 19 N.County Line Rd Jackson, NJ
        08527
    12. Defendant Cathleen J. Coneeny, Esq. , at 3215 Danskin Road, Wall , New Jersey 07719
    13. Defendant Slava Kleyman at 265 Industrial way West Suite 1, Eatontown, NJ 07724
    14. Defendant August J. Landi Esq at 1806 Highway 35 Ste 207, Oakhurst, NJ 07755
    15. Defendant Nancy Cavanaugh at 1187 Marissa Dr Tomsriver, NJ 08724
    16. Defendant Jack M to YELP INC Yelp Inc c/o National Registered Agents, Inc. 330 N
        Brand Blvd, Suite 700 Glendale, CA 91203
    17. Defendant Nada Pityinger and Brett Pityi nger at 482 Jamaica Blvd Tomsriver, NJ 08755
    18. Defendant Joseph Gunteski CPA at 40 Bey Lea Rd Ste AlOl Toms Ri ver, NJ 08753
    19. Defendant Cowan Gunteski & Co, CPA. 40 Bey Lea Rd Ste AlOl Toms River, NJ 08753
    20. Defendant Stephanie J. Brown Esq at 16 Poor Farm Rd Pennington, NJ 08534
    21. Defendant John R. Wiley CPA at 220 Leigh Farm Rd Durham, NC 27707-8110
    22. Defendant AICPA-CIMA (Association of International Certified Public Accountants). at
        220 Leigh Farm Rd Durham, NC 27707-8110
    23. David Schlendorf Esq at 9 Grand Ave Tomsriver, NJ 08753


        I certify that the foregoing statements made by me are true. I am aware that if any of the

 foregoing statements made by me are willfully false, I am subject to punishment.



 Dated: May 23,2022
                                      ~~                    ---
                                      Plaintiff
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 11 of 13 PageID: 525




                        EXHIBIT# 1
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 12 of 13 PageID: 526
                                ZIA SHAIKH
                            200 VI LLAGE CTR DR
                                 UN IT 7381
                            FREEHOLD, NJ 07728
                               (732)766-5466
                              ZIA@MYARPP.COM




 SIEGFRIED & PATRICIA GERMADNIG
 172 ROOSEVELT AVE
 HOWELL, NJ 07731                                        05.12.2022


 RE: ZIA SHAIKH v. LAURAL. GERMADNI G et al
 Case No . 3:22-cv - 02 0 5 3 -GC-RL S


 Dear Defendants GERMADNIG ,
      Pursuant to FRCP RULE 55(a), you are hereby given notice
 that I, ZIA SHAIKH / Plaintiff intends to petition the Federal
 district court for the Eastern District of New Jersey, Trenton
 division for entry of a default judgment against you .
      The court is located at 402 E.State St Rm 2020 Trenton, NJ
 08608, Phone number for the clerk's office is (609)989-2065 .

      On April 20 th , 2022 via personal service the federal
 complaint was served on you by a process server. The summons
 explained your rights and the FRCP rule to allow you 21 days
 from the date of such service to file your response with the
 courts clerk.
      As of this date no response from you or any party
 representing you has been received.
       Please govern yourself accordingly.


 Sincerely,




 ZIA SHAIKH - Plaintiff


 200 Village Ctr Dr
 Unit 7381
 Freehold, NJ 07728
 (732)766-5466
 Zia@MyArpp.com
Case 3:22-cv-02053-GC-RLS Document 20 Filed 06/01/22 Page 13 of 13 PageID: 527

                     t{M                                                                                                                                                      7




        "~ \)~~~ tcr~A..                                                                                                                                        U.S. PiSTAGE PAID
        ~~t"\   <?~~l                                                                                                                                           F8:M L ENV
                                                                                                               ~
                                                                                                                                                                F RT ORTH , TX
                                                                                                                                                               76110
        ~ U b cA£r°·~{Y1~                                                                                     UM TEDSTATEl
                                                                                                              ,osr.al SUf'VICf•
                                                                                                                                                               r~i·a~    22


                               ':',,                                                                                  1000
                                                                                                                                               08608
                                                                                                                                                                  $1.76
                                                                                                                                                                R2305K137271 -23
                                       I' '/  c:                                                                                                                                                .....J.
                        REC ._             \, <I_


                                                      -~'J)l1fcAf.~ ~ \If                                                                       N~::s-~
                             JUN - l t'l.12'2.
                                                    M
                                                           '--\~i ~,~(fA7rf"m-
                          AT8:30--
        ~~--                WILLIAM T. WALS'
                                 CLER!<                                         R.P\ ~A::,
                           ~                                      <f~"\                                      f\)".j' Cl!,,{,t'.)'(s-                                                 . I, II .
                                                      ."''                  . - -..-. .-.,-,-::·.·•
                                                             Bie,C-E"f.:f.'i!:::i...n_,   r. .-<. .•. : I➔                        111,,,1111,,11,,,,Jl,,,;1,11,Jl/,./ult.lnJ,J,111"''ll11/' '_';.. ,.
                                                                                                                                                    CA~l3~.2>\~, 0J-~~'b
